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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.

  ENRIQUE ALVEAR,

         Plaintiff,

  vs.

  MOISES BAKERY OF MIAMI, INC.,
  a Florida for-profit corporation,

        Defendant.
  ___________________________________/

                                            COMPLAINT

         Plaintiff ENRIQUE ALVEAR, through undersigned counsel, sues Defendant MOISES

  BAKERY OF MIAMI, INC., a Florida for-profit corporation, and alleges as follows:

         1.      This is an action for declaratory and injunctive relief, attorney’s fees, costs, and

  litigation expenses for unlawful disability discrimination in violation of Title III of the Americans

  with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R. Part 36.

         2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331 and the provisions of the ADA. Plaintiff seeks declaratory and injunctive relief

  pursuant to 28 U.S.C. §§2201 and 2202.

         3.      Venue is proper in this Court as all actions complained of herein and injuries and

  damages suffered occurred in the Southern District of Florida.

         4.      Plaintiff Enrique Alvear is a resident of Miami, Florida, is sui juris, and is disabled

  as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C. §12101 (“ADAAA”).

         5.      Plaintiff is and at all relevant times has been a blind person who has been medically

  diagnosed with complete blindness as a result of retinal detachment to both eyes. Because of his

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  condition, Plaintiff is blind and is substantially limited in performing one or more major life

  activities, including, but not limited to, sight, accurately visualizing his world, and adequately

  traversing obstacles. As such, he is a member of a protected class under the ADA, 42 U.S.C.

  §12102(1)-(2), the regulations implementing the ADA set forth at 28 CFR §§36.101, et seq., and

  42 U.S.C. §3602(h).

         6.      Because he is blind, Plaintiff cannot use his computer without the assistance of

  appropriate and available auxiliary aids, screen reader software, and other technology and

  assistance. Screen reader software translates the visual internet into an auditory equivalent. At a

  rapid pace, the software reads the content of a webpage to the user. “The screen reading software

  uses auditory cues to allow a visually impaired user to effectively use websites. For example, when

  using the visual internet, a seeing user learns that a link may be ‘clicked,’ which will bring him to

  another webpage, through visual cues, such as a change in the color of the text (often text is turned

  from black to blue). When the sighted user's cursor hovers over the link, it changes from an arrow

  symbol to a hand. The screen reading software uses auditory -- rather than visual -- cues to relay

  this same information. When a sight impaired individual reaches a link that may be ‘clicked on,’

  the software reads the link to the user, and after reading the text of the link says the word

  ‘clickable.’…Through a series of auditory cues read aloud by the screen reader, the visually

  impaired user can navigate a website by listening and responding with his keyboard.” Andrews v.

  Blick Art Materials, LLC, 286 F.Supp.3d 365, 374 (E.D.N.Y. 2017).

         7.      Defendant is a Florida for-profit corporation authorized to do business and doing

  business in the State of Florida.           Defendant owns, operates, and/or controls two

  bakeries/restaurants selling a range of foods and baked goods, including the one of the




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  bakeries/restaurants Plaintiff intended to patronize in the near future located at 7310 Collins

  Avenue, Miami Beach, Florida.

         8.      Plaintiff’s visual disability limits him in the performance of major life activities,

  including sight, and he requires assistive technologies, auxiliary aids, and services for effective

  communication, including communication in connection with his use of a computer.

         9.      Plaintiff frequently accesses the internet. Because he is blind, to effectively

  communicate and comprehend information available on the internet and thereby access and

  comprehend websites, Plaintiff uses commercially available screen reader software to interface

  with the various websites.

         10.     At all times material hereto, Defendant was and still is an organization that owns,

  operates, and/or controls a two bakeries/restaurants selling a range of food and beverage products,

  as well as baked goods, under the name “Moises Bakery”. Each Moises bakery/restaurant is open

  to the public. As the owner, operator, and/or controller of these bakeries/restaurants, Defendant is

  defined as a place of “public accommodation" within meaning of the ADA because Defendant is

  a private entity which owns, operates, and/or controls “a bakery, grocery store, clothing store,

  hardware store, shopping center, or other sales or rental establishment,” per 42 U.S.C.

  §12181(7)(E) and 28 C.F.R. §36.104. Additionally, Defendant is defined as a place of “public

  accommodation” within meaning of the ADA because Defendant is a private entity which owns,

  operates, and/or controls “a restaurant, bar, or other establishment serving food and drink,” per 42

  U.S.C. §12181(7)(B) and 28 C.F.R. §36.104(2).

         11.     Because Defendant is a bakery/restaurant open to the public, each of Defendant’s

  physical bakeries/restaurants is a place of public accommodation subject to the requirements of




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  the ADA, 42 U.S.C. §12182, §12181(7)(B) and (E), and its implementing regulations, 28 C.F.R.

  Part 36.

         12.     Defendant also owns, controls, maintains, and/or operates an adjunct website,

  https://moisesbakery.com (the “Website”). One of the functions of the Website is to provide the

  public information on the locations of Defendant’s bakeries/restaurants. Defendant also sells to

  the public its food and beverage products, as well as its baked goods, through the Website, which

  acts as a critical point of sale and ordering for Defendant’s food and beverage products, as well as

  its baked goods, that are made in and available for purchase in, from, and through Defendant’s

  physical bakeries/restaurants. In addition, Defendant’s website allows the public to arrange for in-

  bakery/restaurant pickups or home deliveries of food and beverage products, as well as baked

  goods, ordered and purchased online, submit forms for placing catering and/or cake orders, and

  sign up for a rewards program to receive exclusive online offers, benefits, invitations, and

  discounts for use online and in the physical bakeries.

         13.     The Website also services Defendant’s physical bakeries/restaurants by providing

  information on available products, services, tips and advice, editorials, sales campaigns, events,

  and other information that Defendant is interested in communicating to its customers.

         14.     Because the Website allows the public the ability to secure information about the

  locations of Defendant’s physical bakeries/restaurants, order and purchase food and beverage

  products, as well as baked goods, made in and also available for purchase in, from, and through

  the physical bakeries/restaurants, , arrange for in-bakery/restaurant pickups or home deliveries of

  food and beverage items, as well as baked goods, ordered and purchased online, submit forms for

  placing catering and/or cake orders, and sign up for a rewards program to receive exclusive online

  offers, benefits, invitations, and discounts for use online and in the physical bakeries/restaurants,



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  the Website has a nexus to, and is an extension of and gateway to, the goods, services, privileges,

  and advantages of Defendant’s physical bakeries/restaurants, which are places of public

  accommodation under the ADA. As an extension of and service, privilege, and advantage

  provided by a place of public accommodation as defined under the ADA, the Website is an

  extension of the services, privileges, and advantages made available to the general public by

  Defendant at and through its brick-and-mortar locations and businesses. Furthermore, the Website

  is a necessary service and privilege of Defendant’s physical bakeries/restaurants in that, as a

  critical point of sale and ordering for the bakeries/restaurants, it enables users of the Website to

  make online purchases of Defendant’s food and beverage products, as well as its baked goods, that

  are made in and also available for purchase in, from, and through the physical bakeries/restaurants.

         15.     Because the public can view and purchase Defendant’s food and beverage products,

  as well as its baked goods, through the Website that are made in and also offered for sale in

  Defendant’s physical bakeries/restaurants, thus having the Website act as a critical point of sale

  and ordering for Defendant’s food and beverage products, as well as its baked goods, also sold in

  and from the physical bakeries/restaurants, arrange for in-bakery/restaurant pickups or home

  deliveries of food and beverage products, as well as baked goods, ordered and purchased online,

  submit forms for placing catering and/or cake orders, and sign up for a rewards program to receive

  exclusive online offers, benefits, invitations, and discounts for use online and in the physical

  bakeries/restaurants, the Website is an extension of, and gateway to the physical

  bakeries/restaurants, which are places of public accommodation pursuant to the ADA, 42 U.S.C.

  §12181(7)(B) and (E). As such, the Website is a necessary service, privilege, and advantage of

  Defendant’s brick-and-mortar bakeries/restaurants that must comply with all requirements of the

  ADA, must not discriminate against individuals with visual disabilities, and must not deny those



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  individuals the same full and equal access to and enjoyment of the goods, services, privileges, and

  advantages afforded the non-visually disabled public both online and in the physical

  bakeries/restaurants.

         16.     At all times material hereto, Defendant was and still is an organization owning,

  operating, and/or controlling the Website. Since the Website is open to the public through the

  internet, by this nexus the Website is an intangible service, privilege, and advantage of Defendant’s

  brick-and-mortar bakeries/restaurants that must comply with all requirements of the ADA, must

  not discriminate against individuals with visual disabilities, and must not deny those individuals

  the same full and equal access to and enjoyment of the goods, services, privileges, and advantages

  as afforded the non-visually disabled public both online and in the physical bakeries/restaurants.

  As such, Defendant has subjected itself and the Website to the requirements of the ADA.

         17.     Plaintiff is and/or has been a customer who is interested in patronizing, and intends

  to patronize in the near future once the Website’s access barriers are removed or remedied, one or

  more of Defendant’s physical bakeries/restaurants (including the store located at 7310 Collins

  Avenue, Miami Beach, Florida), and to search for the brick-and-mortar bakeries/restaurants, check

  bakery/restaurant hours and food and beverage product pricing, purchase food and beverage

  products, as well as baked goods, arrange for in-bakery/restaurant pickups of food and beverage

  products, as well as baked goods, ordered and purchased online, submit forms for placing catering

  and/or cake orders, and sign up for a rewards program to receive exclusive online offers, benefits,

  invitations, and discounts for use online and in the physical bakeries/restaurants..

         18.     The opportunity to shop and pre-shop Defendant’s food, beverage, and baked good

  products, arrange for in-bakery/restaurant pickups or home deliveries of food and beverage

  products, as well as baked goods, ordered and purchased online, submit forms for placing catering



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  and/or cake orders, and sign up for a rewards program to receive exclusive online offers, benefits,

  invitations, and discounts for use online and in the physical bakeries/restaurants from his home are

  important and necessary accommodations for Plaintiff because traveling outside of his home as a

  blind individual is often a difficult, hazardous, frightening, frustrating, and confusing experience.

  Defendant has not provided its business information in any other digital format that is accessible

  for use by blind and visually disabled individuals using screen reader software.

         19.     Like many consumers, Plaintiff accesses a number of websites at a time to help plan

  his bakery/restaurant visits and to compare food and beverage offerings, prices, services, sales,

  discounts, and promotions. Plaintiff may look at several websites to compare features, discounts,

  services, promotions, and prices.

         20.     Beginning in October 2023, Plaintiff attempted on a number of occasions to utilize

  the Website to browse through the food and beverage offerings and online offers to educate himself

  as to the food and beverage products, as well as baked goods, sales, services, discounts, and

  promotions being offered, learn about the brick-and-mortar bakeries/restaurants, check

  bakery/restaurant hours, and check food and beverage product pricing, as well as that of the baked

  goods, with the intent to make a purchase through the Website or in and from one of the physical

  bakeries/restaurants.

         21.     Plaintiff utilizes available screen reader software that allows individuals who are

  blind and visually disabled to communicate with websites. However, Defendant’s Website

  contains access barriers that prevent free and full use by blind and visually disabled individuals

  using keyboards and available screen reader software. These access barriers are pervasive, one or

  more of which were experienced by Plaintiff, and as confirmed by Plaintiff’s expert, include the




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  following (with reference to the Web Content Accessibility Guidelines (“WCAG”) 2.1 Level A

  and AA):

         a)      Version A Guideline 1.1.1 – Non-Text Content – Unannounced text present on the

  images on the “Specials” page. For example, the “Berlin” donut included text regarding its

  availability along with three available filling options, however, all of this content went

  unannounced; only “Berlin” was announced.

         b)      Version Guideline 1.3.1 – Info and Relationships - An “Order Online” graphic link

  on the home page that was not clearly labeled; instead, a long and incomprehensible label was

  announced. The screen capture shows the full announcement, but an abridged version is ,“main

  landmark, 9 numbers, underscore, 17 numbers, underscore, 18 numbers, underscore, o, left parens,

  1, right parens, graphic order online link”.

         c)      Version A Guideline 2.1.1 – Keyboard – An inaccessible “date picker” that is

  displayed on the catering form, which is supposed to help users find and select a date; it was not

  announced when displayed and a user of screen reader software could not access it using arrow or

  tab key navigation.

         d)      Version A Guideline 2.2.2 – Pause, Stop, Hide - A home page carousel that began

  to rotate automatically, but that did not have buttons available for purposes of hiding, stopping, or

  pausing it.

         e)      Version A Guideline 2.4.1 – Bypass Blocks – The lack of a “Skip to Main content”

  link throughout the Website.

         f)      Version A Guideline 2.4.3 – Focus Order – A keyboard focus order that did not

  work sequentially; focus went to the elements present on the catering form only after navigating

  through all the other links present on the page, including the footer links. The footer indicates the



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  end of the page and so a user of screen reader software had no reason to continue to navigate past

  them.

          g)     Version A Guideline 2.4.4 – Link Purpose (In Context) - Multiple links, such as the

  “Order Online” links on the “Order Online” page, which redirected a user of screen reader software

  to a third-party Website that opened up in a new tab when it was selected; a user of screen reader

  software, however, was not notified as is required. The “How can I Help you?” button at the

  bottom of the screen, as well as all of the job links, also had this same issue.

          h)     Version AA Guideline 1.4.3 – Contrast (Minimum) - A contrast ratio for the error

  message text with the background present on catering form of 3.9:1, which is less than 4.5:1; a low

  vision user of screen reader software would face issues detecting the text given the contrast ratio

  was less than 4.5:1.

          i)     Version AA Guideline 1.4.5 – Images of Text - In the home page carousel, images

  with embedded text that did not have any of their text content announced and that also had

  unnavigable text content.

          22.    Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

  Website that would direct him to a webpage with contact information for disabled individuals who

  have questions or concerns about, or who are having difficulties communicating with, the Website.

  Although the Website appeared to have an “accessibility” statement included at the bottom of the

  home page with a phone number for disabled individuals having “difficulty viewing or navigating

  the content” on the Website, that “accessibility” statement and the provided phone number, which

  were tested, continued to be a barrier to and did not provide a viable alternative to access and

  navigate the Website for blind and visually disabled persons, including Plaintiff. Plaintiff thus was




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  unable to receive any meaningful or prompt assistance to enable him to equally, quickly, fully, and

  effectively navigate the Website.

            23.   The fact that Plaintiff could not communicate with or within the Website left him

  feeling excluded, as he is unable to participate in the same shopping and dining experience, with

  the same access to the food and beverage products, sales, services, discounts, and promotions, as

  provided at the Website and in the physical bakeries/restaurants as the non-visually disabled

  public.

            24.   Plaintiff desires and intends in the near future once the Website’s access barriers

  are removed or remedied to patronize one or more of Defendant’s physical bakeries/restaurants

  and to use the Website, but he is presently unable to do so as he is unable to effectively

  communicate with Defendant due to his blindness and the Website’s access barriers. Thus,

  Plaintiff and others who are blind and with visual disabilities will suffer continuous and ongoing

  harm from Defendant’s intentional acts, omissions, policies, and practices as set forth herein unless

  properly enjoined by this Court.

            25.   Because of the nexus between Defendant’s bakeries/restaurants and the Website,

  and the fact that the Website clearly provides support for and is connected to Defendant’s

  bakeries/restaurants for its operation and use, the Website is an intangible service, privilege, and

  advantage of Defendant’s brick-and-mortar bakeries/restaurants that must comply with all

  requirements of the ADA, must not discriminate against individuals with disabilities, and must not

  deny those individuals the same full and equal access to and enjoyment of the goods, services,

  privileges, and advantages as afforded the non-visually disabled public both online and in the

  physical bakeries/restaurants, which are places of public accommodation subject to the

  requirements of the ADA.



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          26.     On information and belief, Defendant has not initiated a Web Accessibility Policy

  to ensure full and equal use of the Website by individuals with disabilities.

          27.     On information and belief, Defendant has not instituted a Web Accessibility

  Committee to ensure full and equal use of Website by individuals with disabilities.

          28.     On information and belief, Defendant has not designated an employee as a Web

  Accessibility Coordinator to ensure full and equal use of the Website by individuals with

  disabilities.

          29.     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Website by individuals with

  disabilities.

          30.     On information and belief, Defendant has not instituted a User Accessibility

  Testing Group to ensure full and equal use of the Website by individuals with disabilities.

          31.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

          32.     On information and belief, Defendant has not instituted an Automated Web

  Accessibility Testing program.

          33.     Defendant has not created and instituted a useful or effective Specialized Customer

  Assistance line or service or email contact mode for customer assistance for the visually disabled.

          34.     Defendant has not created and instituted on the Website a useful or effective page

  for individuals with disabilities, nor displayed a proper link and information hotline, nor created a

  proper information portal explaining when and how Defendant will have the Website, applications,

  and digital assets accessible to the visually disabled and/or blind communities.

          35      The Website does not meet the Web Content Accessibility Guidelines (“WCAG”)

  2.0 Level AA or higher Levels of web accessibility.



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            36.   Defendant has not disclosed to the public any intended audits, changes, or lawsuits

  to correct the inaccessibility of the Website to visually disabled individuals who want the safety

  and privacy of purchasing Defendant’s food and beverage products offered on the Website and in

  the physical bakeries/restaurants from their homes.

            37.   Defendant thus has not provided full and equal access to, and enjoyment of, the

  goods, services, facilities, privileges, advantages, and accommodations provided by and through

  the Website and the physical bakeries/restaurants in contravention of the ADA.

            38.   Public accommodations under the ADA must ensure that their places of public

  accommodation provide effective communication for all members of the general public, including

  individuals with visual disabilities such as Plaintiff.

            39.   The broad mandate of the ADA is to provide an equal opportunity for individuals

  with disabilities to participate in and benefit from all aspects of American civic and economic life.

  That mandate extends to internet shopping websites such as the Website at issue in the instant

  action.

            40.   Defendant is, and at all relevant times has been, aware of the barriers to effective

  communication within the Website which prevent individuals with visual disabilities from the

  means to comprehend information presented therein.

            41.   Defendant is, and at all relevant times has been, aware of the need to provide full

  and equal access to all visitors to the Website.

            42.   The barriers that exist on the Website result in discriminatory and unequal

  treatment of individuals with visual disabilities, including Plaintiff.

            43.   Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

  alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means



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  to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

  in connection with the Website’s access and operation.

         44.     Notice to Defendant is not required because of Defendant’s failure to cure the

  violations.

         45.     Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28

  U.S.C. §§2201 and 2202.

         46.     Plaintiff has retained the undersigned attorneys to represent him in this case and

  has agreed to pay them a reasonable fee for their services.

                             COUNT I – VIOLATION OF THE ADA

         47.     Plaintiff re-alleges paragraphs 1 through 46 as if set forth fully herein.

         48.     Pursuant to 42 U.S.C. §12181(7)(B) and (E), Defendant is a public accommodation

  under the ADA and thus is subject to the ADA.

         49.     Pursuant to 42 U.S.C. §12181(7)(B) and (E), the Website is covered under the ADA

  because it provides the general public with the ability to locate and learn about Defendant’s

  bakeries/restaurants, purchase food and beverage products, as well as baked goods, that are also

  available for purchase in and from the physical bakeries/restaurants, arrange in-bakery/restaurant

  pickups or home deliveries of food and beverage products, as well as baked goods, ordered and

  purchased online, submit forms for placing catering and/or cake orders, and sign up for a rewards

  program to receive exclusive online offers, benefits, invitations, and discounts for use online and

  in the physical restaurants. The Website thus is an extension of, gateway to, and intangible service,

  privilege, and advantage of Defendant’s physical bakeries/restaurants. Further, the Website serves

  to augment Defendant’s physical bakeries/restaurants by providing the public information about

  the bakeries/restaurants and by educating the public as to Defendant’s available food and beverage



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  products, as well as baked goods, sold through the Website and in, from, and through the physical

  bakeries/restaurants.

         50.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

  discrimination to deny individuals with disabilities or a class of individuals with disabilities an

  opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

  or accommodation, which is equal to the opportunities afforded to other individuals.

         51.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

  discrimination includes, among other things, “a failure to make reasonable modifications in

  policies, practices, or procedures, when such modifications are necessary to afford such goods,

  services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

  unless the entity can demonstrate that making such modifications would fundamentally alter the

  nature of such goods, services, facilities, privileges, advantages or accommodations.”

         52.     In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

  discrimination includes, among other things, “a failure to take such steps, as may be necessary to

  ensure that no individual with a disability is excluded, denied services, segregated or otherwise

  treated differently than other individuals because of the absence of auxiliary aids and services,

  unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

  the good, service, facility, privilege, advantage, or accommodation being offered or would result

  in an undue burden.”

         53.     Defendant’s Website must comply with the ADA, but it does not as specifically

  alleged hereinabove and below.

         54.     Because of the inaccessibility of the Website, individuals with visual disabilities

  are denied full and equal access to and enjoyment of the goods, information, and services that



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  Defendant has made available to the public on the Website and in the physical bakeries/restaurants

  in violation of 42 U.S.C. §12101, et seq, and as prohibited by 42 U.S.C. §12182, et seq.

         55.     The Website was subsequently visited by Plaintiffs expert in November 2023, and

  the expert determined that many of the same access barriers that Plaintiff had initially encountered,

  as well as numerous additional access barriers, existed. Despite being a defendant in a prior ADA

  website accessibility lawsuit, which likely resulted in a confidential settlement agreement that

  obligated Defendant to fully remediate the Website, Defendant has made insufficient material

  changes or improvements to the Website to enable its full use, and enjoyment by, and accessibility

  to, blind and visually disabled persons such as Plaintiff. Also, when the Website was visited by

  the expert, although the Website appeared to have an “accessibility” statement linked included at

  the bottom of its home page with a phone number for users having difficulty navigating the

  Website, that “accessibility” statement and phone number, when tested, still could not be

  effectively used or accessed by, continued to be a barrier to, and did not provide a viable alternative

  to access and navigate the Website for blind and visually disabled persons such as Plaintiff.

  Defendant has not disclosed to the public any intended audits, changes, or lawsuits to correct the

  inaccessibility of the Website to visually disabled individuals. Defendant furthermore has failed to

  make reasonable modifications in its policies, practices, or procedures when such modifications

  are necessary to afford goods, services, facilities, privileges, advantages, or accommodations to

  individuals with disabilities, in violation of 28 C.F.R. §36.302.

         56.     More violations may be present on other pages of the Website, which can and will

  be determined and proven through the discovery process in this case.

         57.     There are readily available, well-established guidelines on the internet for making

  websites accessible to the blind and visually disabled. These guidelines have been followed by



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  other large business entities in making their websites accessible. Examples of such guidelines

  include, but are not limited to, adding alt-text to graphics and ensuring that all functions can be

  performed using a keyboard. Incorporating such basic components to make the Website accessible

  would neither fundamentally alter the nature of Defendant’s business nor would it result in an

  undue burden to Defendant.

         57.     Defendant has violated the ADA -- and continues to violate the ADA -- by denying

  access to the Website by individuals such as Plaintiff with visual disabilities who require the

  assistance of screen reader software to comprehend and access internet websites. These violations

  within the Website are ongoing.

         58.     The ADA requires that public accommodations and places of public

  accommodation ensure that communication is effective.

         59.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

  text, and video-based telecommunications products and systems”.                 Indeed, 28 C.F.R.

  §36.303(b)(2) specifically states that screen reader software is an effective method of making

  visually delivered material available to individuals who are blind or have low vision.

         60.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

  appropriate auxiliary aids and services where necessary to ensure effective communication with

  individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

  in accessible formats, in a timely manner, and in such a way as to protect the privacy and

  independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

         61.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

  subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by




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  public accommodations, and requires places of public accommodation to be designed, constructed,

  and altered in compliance with the accessibility standards established by Part 36.

         62.     As alleged hereinabove, the Website has not been designed to interface with the

  widely and readily available technologies that can be used to ensure effective communication, and

  thus violates the ADA.

         63.     As a direct and proximate result of Defendant’s failure to provide an ADA

  compliant Website, with a nexus to its brick-and-mortar locations, Plaintiff has suffered an injury

  in fact by being denied full and equal access to, enjoyment of, and communication with

  Defendant’s Website and physical bakeries/restaurants.

         64.     Because of the inadequate development and administration of the Website, Plaintiff

  is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

  ongoing disability discrimination.

         65.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

  Plaintiff appropriate and necessary injunctive relief, including an order to:

         a) Require Defendant to adopt and implement a web accessibility policy to make publicly

  available, and directly link from the homepage of the Website, a functional statement of the

  Defendant’s policy to ensure persons with disabilities have full and equal access to and enjoyment

  of the goods, services, facilities, privileges, advantages, and accommodations of the physicals

  bakeries/restaurants through the Website.

         b) Require Defendant to take the necessary steps to make the Website readily accessible

  to and usable by blind and visually disabled users, and during that time period prior to the

  Website’s being made readily accessible, provide an alternative method for individuals with visual




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  disabilities to access the information available on the Website until such time that the requisite

  modifications are made, and

         c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

  visual disabilities will be able to effectively communicate with the Website for purposes of

  viewing and locating Defendant’s physical bakeries/restaurants and becoming informed of and

  purchasing Defendant’s food and beverage products, and during that time period prior to the

  Website being designed to permit individuals with visual disabilities to effectively communicate,

  to provide an alternative method for individuals with visual disabilities to effectively communicate

  for such goods and services made available to the general public through the Website and the

  physical bakeries/restaurants.

         66.      Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

  pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

  for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

  services.

         WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

  the following relief:

         A. A declaration that Defendant’s Website is in violation of the ADA;

         B. An Order requiring Defendant, by a date certain, to update the Website, and continue

               to monitor and update the Website on an ongoing basis, to remove barriers in order that

               individuals with visual disabilities can access, and continue to access, the Website and

               effectively communicate with the Website to the full extent required by Title III of the

               ADA;




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        C. An Order requiring Defendant, by a date certain, to clearly display the universal

           disabled logo within the Website, wherein the logo1 would lead to a page which would

           state Defendant’s accessibility information, facts, policies, and accommodations. Such

           a clear display of the disabled logo is to ensure that individuals who are disabled are

           aware of the availability of the accessible features of the Website;

        D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

           accessibility by implementing a Website accessibility coordinator, a Website

           application accessibility policy, and providing for Website accessibility feedback to

           ensure compliance thereto;

        E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

           procedures toward persons with disabilities, for such reasonable time to allow

           Defendant to undertake and complete corrective procedures to its Website;

        F. An Order directing Defendant, by a date certain, to establish a policy of web

           accessibility and accessibility features for the Website to ensure effective

           communication for individuals who are visually disabled;

        G. An Order requiring, by a date certain, that any third-party vendors who participate on

           Defendant’s Website to be fully accessible to the visually disabled;

        H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

           provide mandatory web accessibility training to all employees who write or develop

           programs or code for, or who publish final content to, the Website on how to conform




  1
                    or similar.
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           all web content and services with ADA accessibility requirements and applicable

           accessibility guidelines;

        I. An Order directing Defendant, by a date certain and at least once every three months

           thereafter, to conduct automated accessibility tests of the Website to identify any

           instances where the Website is no longer in conformance with the accessibility

           requirements of the ADA and any applicable accessibility guidelines, and further

           directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

           counsel for review;

        J. An Order directing Defendant, by a date certain, to make publicly available and directly

           link from the Website homepage, a statement of Defendant’s Accessibility Policy to

           ensure the persons with disabilities have full and equal enjoyment of the Website and

           shall accompany the public policy statement with an accessible means of submitting

           accessibility questions and problems;

        K. An award to Plaintiff of his reasonable attorney’s fees, costs and expenses; and

        L. Such other and further relief as the Court deems just and equitable.

        DATED: December 13th, 2023.

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